          Case 3:21-cv-05248-RAJ-MLP Document 95 Filed 10/27/21 Page 1 of 4




 1
                                                              The Honorable RICHARD A. JONES
 2                                               U.S. Magistrate Judge MICHELLE L. PETERSON
 3

 4

 5
                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
 7

 8   MICHAEL ROGERS, et al.,                               NO. C21-5248-RAJ-MLP
 9                             Plaintiffs,                 STIPULATED MOTION TO
                                                           CORRECT SCRIVENER’S ERROR
10          vs.                                            ON DKT. #92 SUBMITTED IN
                                                           ERROR ON OCTOBER 25, 2021
11   DEPARTMENT OF CHILDREN, YOUTH                         RE: STIPULATED MOTION TO
     and FAMILIES (DCYF); et al.,                          EXTEND TIME TO FILE
12                                                         OBJECTIONS TO ORDER ISSUED
                               Defendants.                 BY MAGISTRATE JUDGE
13                                                         PETERSON (DKT. #91)
14                                                         NOTE ON MOTION CALENDAR:
                                                           OCTOBER 27, 2021
15

16                                       I.     STIPULATION
17          The parties, by and through their respective attorneys of record, hereby stipulate to the

18   following:

19          1.      On October 25, 2021, the parties filed a stipulated motion and order that

20   erroneously stated in the order that “Plaintiffs’ deadline for filing objections under

21   FED. R. CIV. P. 72 to Dkt. #91 under the above stipulation is EXTENDED from October 26,

22   2021 to November 9, 2021.” The parties agree that the deadline to file such objections should be

23   extended for both parties and that the stipulation and order submitted on October 25, 2021,

24   should be corrected as stated herein.

25

26
       STIPULATED MTN. TO CORRECT                      1              ATTORNEY GENERAL OF WASHINGTON
                                                                             7141 Cleanwater Dr SW
       SCRIVENER’S ERROR ON DKT. #92                                             PO Box 40124
       SUBMITTED IN ERROR ON 10/25/21                                       Olympia, WA 98504-0124
                                                                                 (360) 586-6565
       RE: STIP. MTN. TO EXTEND TIME TO
       FILE OBJS. TO ORDER ISSUED BY
       MAGISTRATE PETERSON (DKT. #91)
          Case 3:21-cv-05248-RAJ-MLP Document 95 Filed 10/27/21 Page 2 of 4




 1          2.      The parties agree to amend the time allowing for objections under FED. R.
 2   CIV. P. 72 to be filed regarding Magistrate Judge Peterson’s Order (Dkt. #91) to accommodate
 3   Defendants’ counsel’s schedule during this week and next week.
 4          3.      This agreement was the product of meet-and-confer conferences occurring on
 5   October 19 and 20, 2021 that also included discussions related to ongoing discovery. Defendants
 6   need additional time to prepare and submit objections to Dkt. #91 beyond the 14 days allowed
 7   under FED. R. CIV. P. 72 for reasons that include: (1) counsel’s attendance at a memorial service
 8   for a family member out of state; (2) time spent by counsel in this matter preparing for a meet-
 9   and-confer regarding discovery on October 19, 2021 requested by Plaintiffs’ counsel on
10   October 8, 2021; (3) two of counsel’s absence during the week of October 25 due to vacation or
11   CLE attendance; (4) Defendants’ counsel’s building will be closed during the next two weeks
12   for renovation; and (5) counsel’s preparation of a brief in the state court of appeals in another
13   matter. Defendants’ objections will not include challenges to the Court’s analysis in Dkt. #91
14   under Ex Parte Young, in light of Plaintiffs’ proposed amended complaint. Dkt. #91 at 9:1
15   to 10:15.
16          4.      Based on the above, the deadline for filing the objections to Dkt. #91 should be
17   extended from October 26, 2021 to November 9, 2021. Because Defendants’ objections will not
18   include further challenges under Ex Parte Young to Dkt. #91 at 9:1 to 10:15, Plaintiffs should
19   proceed on their proposed amended complaint. Filing of the amended complaint should occur
20   within 30 days of the Court’s order approving the stipulation, including provisions for filing of
21   an accurate redlined version of the amended complaint.
22          5.      Plaintiffs maintain their position that neither this stipulation, nor any objections
23   to be filed by Defendants, in any way limit Plaintiffs’ ability to obtain discovery that they have
24   already sought and will continue to seek going forward.
25          RESPECTFULLY SUBMITTED this 27th day of October, 2021.
26
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 1   COLUMBIA LEGAL SERVICES                          ROBERT W. FERGUSON
                                                      Attorney General
 2

 3   s/      Sarah R. Nagy                            s/     Anne Miller
     SARAH R. NAGY, WSBA No. 52806                    ANNE MILLER, WSBA No. 48355
 4   BONNIE A. LINVILLE, WSBA No. 49361               DANIEL J. JUDGE, WSBA No. 17392
     NICHOLAS B. STRALEY, WSBA No. 25963              Senior Counsel
 5   ALISON S. BILOW, WSBA No. 49823                  WILLIAM MCGINTY, WSBA No. 41868
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 6   Seattle, WA 98104                                Assistant Attorneys General
     Telephone: (206) 464-0838
 7                                                    Attorneys for Defendants
     Attorneys for Plaintiffs
 8
                                              II.     ORDER
 9
     IT IS HEREBY ORDERED that:
10
              1.      The stipulation of the parties is APPROVED AND ADOPTED.
11
              2.      The deadline for filing objections under FED. R. CIV. P. 72 to Dkt. #91 under the
12   above stipulation is EXTENDED from October 26, 2021 to November 9, 2021.
13            3.      Consistent with Dkt. #91 at 8, n. 4, Plaintiffs shall file an accurate redlined
14   version of their proposed amended complaint within 7 days following the entry of this Order.
15            4.      Plaintiffs shall file their amended complaint within 30 days following the entry
16   of this Order.
17                    Dated this 27th day of October, 2021.
18

19

20                                                           A
                                                             MICHELLE L. PETERSON
21                                                           United States Magistrate Judge
22

23   Presented by:
24   ROBERT W. FERGUSON
     Attorney General
25

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12   Attorneys for Defendants

13   Approved for Entry by:
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     s/      Sarah R. Nagy
16   SARAH R. NAGY, WSBA No. 52806
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23

24

25

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